
*672OPINION.
Matthews :
The petitioner in this proceeding is claiming the right to deduct as a bad debt an amount of $50,410, being the difference between $56,660, which he claims was the value of the stock of the Callahan Mining Company, to which he was entitled as compensation, and the amount of $6,250 received by him in 1922 in full settlement of his claim for such services. If the petitioner had received the full amount of the stock to which he was entitled as compensation, the fair market value thereof would have constituted income to him when received. There is no evidence as to what was the fair market value thereof. The statement in the stipulation that *673“ the petitioner alleges that in 1916 responsible parties offered him $56,660 in cash ” for the stock is not evidence of its fair market value. The petitioner did. receive $6,250 in cash, which he correctly included in his income.
But even if the petitioner had established the value of the stock, he is not entitled to a bad debt deduction. The petitioner was on the cash receipts and disbursements basis and never received the stock, never reported it in income or accrued it in any way. There is no basis for a bad debt deduction. See Charles A. Collin, 1 B. T. A. 305, and Charles K. Beekman, 17 B. T. A. 643.

Judgment will be entered for the respondent.

